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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

EQUALITY FLORIDA, et al.,

       Plaintiffs,

vs.                                   CASE NO.: 4:22-CV-00134-AW-MJF

RONALD D. DESANTIS, in his
Official capacity as Governor of
Florida, et al.,

     Defendants.
_______________________________/

 DEFENDANT SCHOOL BOARD OF SARASOTA COUNTY’S MOTION
   TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT AND
             MEMORANDUM OF LAW IN SUPPORT

       Defendant, School Board of Sarasota County (“SBSC”), by and through its

undersigned counsel and pursuant to Fed. R. Civ. P. 12(b), hereby moves to

dismiss Counts I–V of the First Amended Complaint (the “Complaint”) (Dkt. 47)

and in support, states as follows:

      OVERVIEW OF COMPLAINT AND SUMMARY OF ARGUMENTS

       In order to understand the contentions raised in SBSC’s motion, it is

necessary to understand the convoluted nature of the Complaint’s parties, causes of

action, and allegations.
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       This 114-page lawsuit involves thirteen (13) distinct plaintiffs, eighteen (18)

distinct defendants, and contains six (6) separate causes of action. The thirteen (13)

Plaintiffs consist of:

           two (2) public-interest organizations (neither of which are based
            in Sarasota County, Florida or whom plead any specific ties to
            Sarasota County, Florida);
           three (3) current students (one who partially resides in
            Brandon, Florida and attends public school in Florida in an
            unidentified county; one in Manatee County, Florida who
            attends a charter school; and one in Miami-Dade County,
            Florida who attends a public school);
           one (1) former student – Zander Moricz (“Moricz”) (from
            Sarasota County, Florida);
           three (3) sets of parents (one set from St. Johns County, Florida
            and two sets from Miami-Dade County, Florida);
           two (2) individual parents (one from Miami-Dade County,
            Florida and one from Orange County, Florida)
           two (2) teachers (one from Broward County, Florida and one
            from Pasco County, Florida).

       The eighteen (18) Defendants consist of:

           Florida’s Governor in his official capacity;
           Florida’s Board of Education;
           The seven (7) individual members of Florida’s Board of
            Education in their official capacities;
           Florida’s Commissioner of Education in his official capacity;
           Florida’s Department of Education; and
           Seven (7) Florida school boards (Broward County, Manatee
            County, Sarasota County, Miami-Dade County, Orange
            County, St. Johns County, and Pasco County).




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       SBSC is a defendant in Counts I-V. Each of these counts contains

conclusory language alleging vaguely that each plaintiff in each respective count

has been irreparably harmed and has suffered damages to be determined at trial.1

       Count I, which is pursued by all Plaintiffs against all Defendants, is brought

pursuant to 42 U.S.C. § 1983 hereinafter a “§ 1983 action”) that challenges the

constitutionality of the recently enacted Florida House Bill 1557 (“H.B. 1557”) as

vague under the United States Constitution’s Fourteenth Amendment’s Due

Process Clause, both facially and as applied.

       Count II, which is also pursued by all Plaintiffs against all Defendants, is a §

1983 action in which Plaintiffs both: (1) allege that “Defendants” have deprived

“Plaintiffs” of the rights, privileges, and immunities secured by the Equal

Protection clause of the Fourteenth Amendment to the Constitution, and (2)

challenge the constitutionality of H.B. 1557 under a theory that it violates the

Constitution’s Equal Protection Clause, facially and as applied.

       Count III, brought by six (6) Plaintiffs against all Defendants, is a § 1983

action that challenges the constitutionality of H.B. 1557 under a theory that it

violates the First Amendment rights of plaintiffs M.A., Moricz, S.S., and Jane Doe


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  Given the convoluted nature of the Complaint, the number of Plaintiffs and Defendants
involved with each count, the failure to outline how each of the different individual Defendants
were liable within each count, and the boilerplate and conclusory description of the relief sought
within each count, it is unclear to SBSC what exact claims Plaintiffs have made within each
count. For that reason, the below represents SBSC’s best understanding of what claims have
been alleged by Plaintiffs.

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(the “Student Plaintiffs”) and organizational plaintiff Equality Florida to receive

information and ideas, facially and as applied. Although it is included, it is unclear

how the other organizational plaintiff, Family Equality, is involved in this specific

count.

         Count IV, which is pursued by six (6) Plaintiffs against all Defendants,

challenges the constitutionality of H.B. 1557 under a theory that it violates

students’ First Amendment right to freedom of expression, facially and as applied.

         Count V, pursued by six (6) Plaintiff’s against all of the Defendants,

challenges the constitutionality of H.B. 1557 as well, in this case as overbroad

under the First Amendment to the United States Constitution, facially and as

applied.

         SBSC should be dismissed from Counts I-V of the Complaint for several

reasons. First, the Complaint represents a shotgun pleading that asserts multiple

claims against multiple defendants without specifying which of the defendants are

responsible for which specific acts.

         Additionally, SBSC should be dismissed from Counts I-V for various other

reasons. First, neither Moricz, who graduated in May of 2022 (before H.B. 1557

became effective), nor any of the other Plaintiffs possess standing against SBSC.

Second, Plaintiffs have failed to allege the necessary elements of a valid § 1983

claim and the named Plaintiffs in Count II have failed to state a valid claim that



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SBSC deprived the named Plaintiffs of their equal protection rights. Third, SBSC –

who had no involvement in H.B. 1557’s drafting – is not a proper party to a

constitutional challenge of the bill. Rather, such constitutional challenges are more

properly addressed against the state-level Defendants.

      Thus, Counts I–V must be dismissed. However, notwithstanding all of the

above, if this Court determines that Plaintiffs have only stated a valid § 1983 claim

against SBSC for a deprivation of rights, such counts must still be dismissed for

improper venue based on SBSC’s entitlement to litigate any surviving claims in

either the Middle District of Florida or Florida’s Twelfth Judicial Circuit pursuant

to entitlement to “home rule.”

                    PLEADINGS PERTAINING TO SBSC

      All told, the lengthy Complaint makes very limited mention of SBSC or any

purported ties that Plaintiffs have to Sarasota County. Below is every reference to

SBSC or Sarasota County:

    “Defendant School Board of Sarasota County is a district school board
     organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The
     School Board of Sarasota County operates Pine View School, which
     Plaintiff Moricz attended. Its powers and duties include implementing
     H.B. 1557. See id. § 1001.42(8).” Dkt. 47 ¶ 89.

    “Plaintiff Moricz’s school district of Sarasota County adopted
     ‘Gender Diverse Student Guidelines’ to ‘enhance ongoing efforts to
     make each Sarasota K-12 public school a safer place for all students –
     with particular emphasis on LGBTQIA community of students.’
     These guidelines specifically recognize that ‘[s]tudents who feel


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        accepted at school are more highly motivated, engaged in learning and
        committed to achieving the best possible education.’” Id. ¶ 106.

      “The Sarasota County Schools’ ‘Creating Safe Schools for All
       Students: Gender Diverse Student Guidelines’ were updated on March
       25, 2022, to remove references to elementary students.” Id. ¶ 253.

        Of the numerous Plaintiffs in this case, only one (1) bears any relationship

whatsoever to SBSC: Moricz. Regarding Moricz, only the following references are

made:

       “Plaintiff Zander Moricz was specifically instructed not to mention
        H.B. 1557 or his participation in this lawsuit at his high school
        commencement speech.” Dkt. 47 ¶ 10.

       “Plaintiff Zander Moricz is an 18-year-old who recently graduated
        from Pine View School, a public magnet school in Osprey, Florida for
        academically gifted students. His parents are divorced, and he mainly
        lives with his mother and younger brother.” Id. ¶ 44.

       “Moricz has known he is gay since middle school. At the time, he felt
        as though he had to constantly hide who he truly was. He would
        modify his speech and physical gestures and modulate his interests to
        try to avoid being perceived as gay. He dreaded going to gym class
        because the boys would tease him in the locker room and call him
        names like ‘pussy’ and ‘faggot.’ Living in this closeted adolescence
        was deeply debilitating for Moricz at an important time in his life. He
        never felt like he fit in or belonged at his school.” Id. ¶ 45.

       “Moricz transferred to Pine View School in sixth grade; he came out
        as gay during his freshman year. At the time, Moricz wanted to run
        for president of the freshman class and be a leader for his peers, but he
        wanted to run only if he could do so without being in the closet.
        Moricz ultimately decided to run, with support from a friend, and
        came out to his school and the broader community in the process. To
        his surprise, Moricz won. He remained class president for all four
        years.” Id. ¶ 46.


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   “At home, Moricz’s family was not at first accepting of his sexuality.
    It took many difficult conversations for him to feel safe and accepted.
    But school was different and better. Moricz has had warm and
    accepting teachers and friends who embraced him for who he is, and
    he had many opportunities at school to express who he is and take
    pride in his identity.” Id. ¶ 47.

   “Moricz’s ability to be himself at school allowed him to succeed
    academically. He had a 5.06 GPA and took nearly every Advanced
    Placement course his high school offered. He also served as the
    president of the local Model UN chapter and the head debate captain
    of the Pine View Speech and Debate Club. He will attend college at
    Harvard University in the fall.” Id. ¶ 48.

   “On April 27, 2022, Moricz was called into his principal’s office and
    informed that his upcoming commencement speech as senior class
    president could not include material related to his activism, including
    his activism against H.B. 1557 or his participation in this lawsuit. He
    was told that should he reference any forbidden topics during his
    speech, the administration would shut off his microphone and halt the
    ceremony.” Id. ¶ 174.

   “Moricz delivered his class president speech at the Pine View
    graduation ceremony on May 22, 2022. Because of his principal’s
    warning, and the administration’s threat to cut off his microphone and
    disrupt the ceremony, Moricz did not directly address H.B. 1557 or
    this lawsuit, nor did he say the word ‘gay.’ In short, he was not
    permitted to give the speech he had planned to give, and he was not
    able to speak his own identity or values.” Id. ¶ 175.

   “Instead, he developed a euphemism, in which he spoke about having
    curly hair, about the difficulties he faced growing up in Florida with
    curly hair—‘due to the humidity,’ as he put it—and about his own
    failed and futile efforts to ‘straighten his curls.’ He said that ultimately
    he embraced his curly hair, and he thanked his class and his teachers
    and principal for accepting and embracing him as curly-haired (prior
    to the passage of H.B. 1557). ‘It’s because of the love I’ve drawn
    from this community that I came out to my family,’ he said. ‘Now I’m


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       happy—and that is what is at stake.’ Moricz went on: ‘There are
       going to be so many kids with curly hair who need a community like
       Pine View, and they will not have one. Instead, they’ll try to fix
       themselves so that they can exist in Florida’s humid climate. . . . [My
       speech] needs to be about this for the thousands of curly-haired kids
       who are going to be forced to speak like this for their entire lives as
       students.’ He noted that his principal had always ‘loved my curls and
       loved me.’ But, Moricz said, ‘those we have given our power to’—a
       non-explicit reference to the passage of H.B. 1557, which he was
       forbidden from addressing directly—‘are the reason that I have to
       stand here and talk about my hair during my graduation speech.’
       Moricz’s speech was met with cheers and a standing ovation, and his
       principal was the first to hug him.” Id. ¶ 176.

      “Moricz’s clever coded language enabled him to navigate the day. As
       Moricz always has, he found a way to soldier on, to care for others,
       and to call for justice. But he found it dehumanizing to have to speak
       cagily about his own identity—to be told, in effect, by the State, that
       there was something shameful and wrong about him that he should
       not say out loud. He had been thinking about and planning the speech
       he would give for years, and he was unable to give that speech. As he
       rewrote the speech in the weeks following his meeting in the
       principal’s office, Moricz was frustrated, hurt, sad, and at times angry
       that he was being censored and silenced in his efforts to speak about
       his own identity and values. He wanted to speak openly and candidly,
       as he had learned to do, but he believed that if he defied the
       principal’s instructions, and the microphones were cut and the
       ceremony halted, an event that was meant as a celebration for all the
       students of his class would be ruined. He might put at risk the very
       love and support that had enabled him to flourish and find happiness
       at Pine View. Again, Moricz was put to the painful choice of having
       to hide or suppress a part of himself—to ‘straighten his curls’—in
       order to find acceptance. He had expected that on the day of his
       graduation, he would be accepted and celebrated as his authentic self,
       without stigma or censorship. The exercise of State power to
       stigmatize and censor Moricz thus caused him considerable emotional
       harm.” Id. ¶ 177.

     “Similarly, Moricz’s teachers have said they will need to remove their
      images of support, including pride flags and rainbows in the

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        classroom. These insignia have always indicated to Moricz that he
        was in a safe and welcoming environment. But apparently out of fear
        that this support constitutes ‘classroom instruction on sexual
        orientation or gender identity’, teachers intend to self-censor”. Id. ¶
        184.

       “Nominal, compensatory, statutory, and punitive damages in an
        amount to be determined at trial, as well as prejudgment interest,
        when appropriate, including the pain and suffering experienced by
        Moricz as a result of the censorship of his high school graduation
        speech.” Id. ¶ 315.2

Outside of Moricz, not one single allegation is raised against SBSC by any of the

other Plaintiffs, nor do the two Plaintiff organizations, either on their own behalf or

through their individual members, allege specific ties to SBSC, Sarasota County,

Moricz, or any of the remaining Plaintiffs.3 Accordingly, the scope of the

allegations made against SBSC is exceedingly limited.

                               MEMORANDUM OF LAW

        Pursuant to Federal Rule of Civil Procedure 8(a)(2), a complaint must

contain a short and plain statement of the claim showing the plaintiff is entitled to

relief to “give the defendant fair notice of what the…claim is and the grounds upon

which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 554–55, (2007). A

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  It is unclear which count in the Complaint this paragraph in the “Prayer for Relief” following
the body of the Complaint specifically relates to.
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  Defendant Equality Florida is based in St. Petersburg, Florida. Dkt. 47 ¶ 25. While Equality
Florida alleges it has student, parent, and teacher members “throughout the State of Florida” (Id.
¶ 26), it fails to plead that any of them have any ties specifically to Sarasota County, FL.
Likewise, Family Equality is headquartered in New York, NY. Id. ¶ 28. While Family Equality
alleges it has a “presence in the southern states, with an emphasis in Florida” (Id. ¶ 29), it also
fails to plead any specific tie to Sarasota County. Notably, the Complaint is silent regarding
whether Moricz is a member of either organization.

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complaint that offers “labels and conclusions” or a “formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555. While the

pleading standard set forth in Rule 8 does not require detailed factual allegations, it

does demand more than what is pled here – “an unadorned, the-defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A

complaint like the one in this case – which contains “naked assertion[s]” without

“further factual enhancement” is insufficient. Id. Moreover, like the allegations in

this Complaint, “conclusory allegations, unwarranted factual deductions, or legal

conclusions masquerading as facts will not prevent dismissal.” Moseley v.

McKesson Medical-Surgical, Inc., No. 8:12-cv-2666-T-30EAJ, 2013 WL 3639686,

at *1 (M.D. Fla. July 11, 2013).

   I.       Dismissal is Required Because the Complaint Represents a Shotgun
            Pleading.
         “A shotgun pleading is a complaint that violates either Federal Rule of Civil

Procedure 8(a)(2) or Rule 10(b), or both.” Barmapov v. Amuial, 986 F.3d 1321,

1324 (11th Cir. 2021) (citing Weiland v. Palm Beach Cnty. Sheriff's Off., 792 F.3d

1313, 1320 (11th Cir. 2015)). “Shotgun pleadings ‘are flatly forbidden by the

spirit, if not the letter, of these rules’ because they are ‘calculated to confuse the

enemy, and the court, so that theories for relief not provided by law and which can

prejudice an opponent's case, especially before the jury, can be masked.’” Id.

“Besides violating the rules, shotgun pleadings also ‘waste scarce judicial


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resources, inexorably broaden the scope of discovery, wreak havoc on appellate

court dockets, and undermine the public's respect for the courts.’” Id. Courts have

“little tolerance” for them. Id.

      There are “four rough types or categories of shotgun pleadings.” Id. at 1324

(quoting Weiland, 792 F.3d at 1321). “The first is ‘a complaint containing multiple

counts where each count adopts the allegations of all preceding counts, causing

each successive count to carry all that came before and the last count to be a

combination of the entire complaint.’” Id. at 1324–25. “The second is a complaint

that is ‘replete with conclusory, vague, and immaterial facts not obviously

connected to any particular cause of action.’” Id. “The third is a complaint that

does not separate ‘each cause of action or claim for relief’ into a different count.”

Id. “And the final type of shotgun pleading is a complaint that ‘assert[s] multiple

claims against multiple defendants without specifying which of the defendants are

responsible for which acts or omissions, or which of the defendants the claim is

brought against.’” Id.

      For various reasons, this Complaint represents a shotgun pleading.

Specifically, the Complaint is replete with conclusory and immaterial facts that

bear no relation to any of the causes of action here. For instance, throughout their

pleading, Plaintiffs raise facts that have no connection to their causes of action for

violation of the First and Fourteenth Amendment by SBSC. As it relates to Moricz



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in particular, for example, the Complaint includes a recitation of Moricz’s

conversation with his school principal, during which he claims that he was told his

upcoming commencement speech as Senior Class President could not include

material related to his activism. See Dkt. 47 ¶ 174. But the Complaint fails to ever

connect these claims to any one specific cause of action raised by the Plaintiffs

against SBSC. By way of further example, as it relates to Count I, in which

Plaintiffs contend that “H.B. 1557 is void for vagueness,” (Dkt. 47 ¶ 263),

Plaintiffs’ only allegation relating to Moricz is that the same bill “fails to provide a

person of ordinary intelligence a reasonable opportunity and fair notice to

understand what students can and cannot say and do…” Id. ¶ 264. This dichotomy

exists throughout the pleading, as Plaintiffs repeatedly fail to connect any of the

factual allegations presented with claims against SBSC.

       Additionally, Plaintiffs repeatedly assert the same claims against the same

Defendants without making even the slightest attempt to specify which of the

Defendants are responsible for which acts, or which of the Defendants each claim

is brought against. Instead, despite the separate and distinct categories of Plaintiffs

and Defendants,4 Plaintiffs bring all-encompassing claims against all Defendants in

each of Counts I-V. Throughout the Complaint, where Plaintiffs bring such claims,

they importantly fail to ever connect individual allegations to each particular

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  Plaintiffs are organizations, students, former students, teachers, and parents. Defendants are
state officials, state-level departments, and local school districts.

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Defendant. As one mere example of this practice, in the Complaint’s “Prayer for

Relief,” Plaintiffs make the conclusory assertion that Moricz is entitled to damages

for censorship without linking this claim to any of the five (5) counts that SBSC is

a named Defendant in – which, in turn, leaves SBSC to speculate as to what count

in the Complaint this assertion relates to, if any.

             For all of these reasons, each count in this Complaint represents a clear

shotgun pleading and, accordingly, should be dismissed on this basis alone. See

Barmapov v. Amuial, 986 F.3d 1321, 1325–26 (11th Cir. 2021); Marsey v. State

Bd. of Admin. of Fla., 497 F. Supp. 3d 1214, 1216–18 (N.D. Fla. 2020) (Winsor,

J.).

       II.      Dismissal is Similarly Required Because None of the Plaintiffs in
                Counts I-V Possess Standing Against SBSC.

             “Article III of the United States Constitution limits the role of the federal

judiciary to resolving cases and controversies.” Dykes v. Dudek, No.

4:11CV116/RS-WCS, 2011 WL 4552395, at *1 (N.D. Fla. Oct. 3, 2011) (citing

Lujan v. Defenders of Wildlife, 504 U.S. 555, 559–560, 112 S. Ct. 2130, 2136, 119

L. Ed. 2d 351 (1992)). “Standing is a core component of this Article III

requirement that must be established by litigants before a court may exercise

jurisdiction over their claims.” Id. (citing Lujan, 504 U.S. at 560).

             In Lujan, “the Supreme Court said the ‘irreducible constitutional minimum

of standing contains three elements.’” Nielsen v. DeSantis, 469 F. Supp. 3d 1261,

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1265 (N.D. Fla. 2020) (quoting Lujan, 504 U.S. at 560). “First, the plaintiff ‘must

have suffered an injury in fact—an invasion of a legally protected interest which is

(a) concrete and particularized, and (b) actual or imminent, not conjectural or

hypothetical.’” Id. (internal quotation marks and citations omitted). “Second, ‘there

must be a causal connection between the injury and the conduct complained of—

the injury has to be fairly traceable to the challenged action of the defendant, and

not the result of the independent action of some third party not before the court.’”

Id. (internal quotation marks, ellipses, and brackets omitted). “Third, ‘it must be

likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.’” Id. (internal quotation marks omitted).

      Associations such as Equality Florida and Family Equality “[have] standing

to bring suit on behalf of its members when its members would otherwise have

standing to sue in their own right, the interests at stake are germane to the

organization’s purpose, and neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Speech First, Inc.

v. Cartwright, 32 F. 4th. 1110, 1119 (11th Cir. 2022) (quoting Friends of the

Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167, 181, 120 S.Ct. 693,

145 L. Ed. 2d 610 (2000)).




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      In order to establish standing, each Plaintiff must satisfy each of the factors

described below. Because each Plaintiff cannot do so here, SBSC is entitled to

dismissal.

          a. Injury-in-Fact

      “An injury-in-fact cannot be an abstract injury.” Koziara v. City of

Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004). “A plaintiff must point to some

type of cognizable harm, whether such harm is physical, economic, reputational,

contractual, or even aesthetic.” Id. “But the injury-in-fact test requires more than an

injury to a cognizable interest. It requires that the party seeking review be himself

among the injured.” Id. (quoting Lujan, 504 U.S. at 563, 112 S. Ct. at 2137). “The

plaintiff must be ‘directly’ affected apart from [his or] her ‘special interest in the

subject.’” Id. (quoting Lujan, 504 U.S. at 563, 112 S. Ct. at 2138). “To be

particularized, ‘we mean that the injury must affect the plaintiff in a personal and

individual way.’” Id. (quoting Lujan, 504 U.S. at 561, 112 S. Ct. at 2136 n. 1)

(emphasis added). “If the plaintiff is merely a ‘concerned bystander,’ then an injury-

in-fact has not occurred.” Id.

      “[T]hreatened injury must be certainly impending to constitute injury-in-

fact…[a]llegations of possible future injury are not sufficient.” Tsao v. Captiva MVP

Rest. Partners, LLC, 986 F.3d 1332, 1338–39 (11th Cir. 2021) (quoting Clapper v.

Amnesty Int'l USA, 568 U.S. 398, 409, 133 S. Ct. 1138, 1147, 185 L.Ed.2d 264



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(2013)). “While this standard does not require a plaintiff to show that it is ‘literally

certain that the harms they identify will come about,’ it, at the very least, requires a

showing that there is a ‘substantial risk’ that the harm will occur.” Id. (quoting

Clapper, at 414 n.5, 133 S. Ct. at 1150 n.5).

      “Plaintiffs who seek injunctive relief must make an additional showing to

demonstrate standing.” Kennedy v. Floridian Hotel, Inc., 998 F.3d 1221, 1229 (11th

Cir. 2021) (citing Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1328 (11th

Cir. 2013) (“The ‘injury-in-fact’ demanded by Article III requires an additional

showing when injunctive relief is sought.”)). “Because injunctions regulate future

conduct, a party has standing to seek injunctive relief only if the party shows ‘a real

and immediate — as opposed to a merely conjectural or hypothetical — threat of

future injury.’ ” Id. “When a plaintiff seeks an injunction, [they] must demonstrate

that a future injury is imminent — that there is ‘a sufficient likelihood that he [or she]

will be affected by the allegedly unlawful conduct in the future.’” Id. at 1229–30

(quoting Koziara v. City of Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004)).

      “Although concrete allegations of self-censorship tied to a credible threat of

enforcement satisfy the injury-in-fact requirement, a ‘mere assertion of a chill is

insufficient.’” Restoration Assoc. of Fla., Inc. v. Julie I. Brown, No. 4:21-CV-263-

AW-MAF, 2022 WL 1279692, at *4 (N.D. Fla. Jan. 10, 2022) (Winsor, J.) (citing

Dermer v. Miami-Dade Cnty., 599 F.3d 1217, 1221 (11th Cir. 2010); Laird v. Tatum,



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408 U.S. 1, 13-14 (1972) (“Allegations of a subjective ‘chill’ are not an adequate

substitute for a claim of specific present objective harm or a threat of specific future

harm ....”)).

       Here, of the thirteen (13) Plaintiffs who have brought claims against SBSC in

this action, only Moricz has any relation to SBSC. Specifically, Moricz was a Senior

at Pine View School that graduated in May 2022. Dkt. 47 ¶ 44 (“Moricz is an 18-

year-old who recently graduated from Pine View School”). Because H.B. 1557 does

not take effect until July 1, 2022, however, Moricz cannot show that he has either

been directly affected by the passage of H.B. 1557 or faces any substantial risk of

certain future harm. Specifically, any claim for injunctive relief based on the prospect

of future injury is impossible here as Moricz, as a new graduate, can never possibly

be harmed by this law or by the actions of SBSC moving forward. Accordingly, the

existence of an imminent future injury is impossible here.

       Regarding past alleged harms to Moricz by SBSC that have already occurred,

in Count II of the Complaint, “Plaintiffs” (which includes Moricz) conclusory assert

that an equal protection “deprivation” occurred. See Dkt. 47 ¶ 275. Thereafter in the

“Prayer for Relief,” a conclusory claim for damages based on “pain and suffering

experienced by Moricz as a result of the censorship of his high school graduation

speech” is asserted. Id. ¶ 315. But that too is impossible, as Moricz’s only alleged

censorship, by his own admission, was relating to his activism, (see Dkt. 47 ¶ 174),



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and it is unclear how such alleged censorship of activism constitutes an equal

protection violation.

      Quite simply, although Moricz represents a member of a protected class (as a

gay man), nowhere in the Complaint does he allege that he was treated differently on

this basis. Rather, the Complaint makes clear that Moricz was only ever directed that

his commencement speech “could not include material related to his activism,

including his activism against H.B. 1557 or his participation in this lawsuit.” Dkt. 47

¶ 174 (emphasis added). In addition to being neither concrete nor credible, at best,

Moricz’s claim of self-censorship here is similarly insufficient to state a cognizable

claim for past injury as it represents a “mere assertion of a chill.” See Restoration

Assoc. of Fla., Inc., at *4 (quoting Dermer, 599 F.3d at 1221).

      For their part, the other Plaintiffs in Count I-V similarly fail to raise any

concrete or particularized threat of future injury as it relates to SBSC. Importantly,

these remaining Plaintiffs have not plead any claims of past harm by SBSC. As

detailed above, as current students, parents, and teachers with no connection to SBSC

or Sarasota County as a whole, none of the remaining individual Plaintiffs can state a

claim for injury against SBSC, nor do they try. Additionally, neither Equality

Florida nor Family Equality (the “Organizational Plaintiffs”) can state a claim against

SBSC. Speech First, Inc. v. Cartwright, 32 F. 4th. 1110, 1119 (11th Cir. 2022)

(quoting Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S.



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167, 181, 120 S.Ct. 693, 145 L. Ed. 2d 610 (2000)) (ruling that, like the

Organizational Plaintiffs here, plaintiffs only “[have] standing to bring suit on

behalf of its members when its members would otherwise have standing to sue in

their own right...”).

      Importantly, here, the Organizational Plaintiffs have failed to raise any

allegation that their members have standing against SBSC in their own right. In fact,

as detailed above, the Complaint is devoid of any allegation from any resident of

Sarasota County outside of Moricz. At best, the remaining representative

Organizational Plaintiffs are mere “concerned bystanders” who have pled no specific

ties to Sarasota County or SBSC amongst its membership, which is insufficient to

show that an injury-in-fact was committed specifically by SBSC. See Koziara v. City

of Casselberry, 392 F.3d 1302, 1305.

      While these Organizational Plaintiffs may argue that they have standing

against SBSC regarding the state-level Defendants to challenge the constitutionality

of H.B. 1557, and may even possess the ability to potentially obtain injunctive relief

against them, based on the utter lack of pled ties to SBSC or Sarasota County – either

on its own or through its members – the Organizational Plaintiffs lack standing

regarding SBSC.

      Moreover, while Counts I-V of the Complaint target H.B. 1557 on various

constitutional grounds, SBSC had no involvement in the drafting of the law. Notably,



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Plaintiffs do not even claim as much. Nor has the law even become effective yet.

Rather, Plaintiffs make conclusory allegations that “H.B. 1557 has already

stigmatized and singled out LGBTQ students such as … Moricz … as inferior and

unequal in public school settings,” and “disparately harms LGBTQ students … and

denies such students equal educational opportunities based on their LGBTQ

orientation or identity.” Dkt. 47 ¶¶ 281–82. To the extent this has created an “injury-

in-fact,” it was created by the drafters of H.B. 1557; not the school districts required

to implement it once it becomes effective July 1, 2022.

      As discussed further below, the only plausible “deprivation” pled by the

Plaintiffs as it relates to SBSC involves the alleged censorship of Moricz. Because

the Complaint pleads no other facts that can be interpreted as deprivations by any

other Plaintiffs in Count I-V against SBSC, none of these Plaintiffs have established

that SBSC has committed an injury-in-fact against them sufficient to confer them

standing.

            b. Causal Connection

      “A plaintiff ... need not show … that the defendant's actions are the very last

step in the chain of causation.” Dream Defs. v. DeSantis, 553 F. Supp. 3d 1052, 1078

(N.D. Fla. 2021). “[E]ven harms that flow indirectly from the action in question can

be said to be ‘fairly traceable’ to that action for standing purposes.” Id. (quoting

Focus on the Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th Cir.



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2003)). In Dream Defs., the Northern District ruled that, as it related to the defendant

sheriffs, the “challenged action” was “their enforcement of the challenged statutory

provisions that cause Plaintiffs’ injuries — i.e., self-censorship and the diversion of

resources.” Id. at 1081. Because “[t]he provisions at issue are each enforceable by the

Defendant Sheriffs…Plaintiffs’ injuries resulting from enforcement of these new

provisions are traceable to the Defendant Sheriffs,” and, accordingly, the plaintiffs

were considered to have standing against the Defendant Sheriffs. Id. at 1081–82.

      As made clear, here, that is not the case with SBSC. The only ties to SBSC

pled in the Complaint by any of the Plaintiffs relate to Moricz. As such, the only

future “traceability” or “enforcement” by SBSC that could possibly occur against the

various Plaintiffs asserting claims in Counts I-V would necessarily have to be against

Moricz. Because, here, the “challenged action” of SBSC is impossible by virtue of

(a) SBSC’s lack of role in the drafting of H.B. 1557. and (b) the bill’s later-date of

effect, Moricz simply cannot trace an alleged injury to SBSC. Because Moricz has

already graduated, there can be no “traceability” to or “enforcement” against him

once the law becomes effective July 1, 2022.

      Furthermore, once H.B. 1557 becomes effective, SBSC’s jurisdiction to

enforce it is limited to only those schools within Sarasota County. Accordingly,

SBSC has no ability to enforce the provisions of H.B. 1557 against the various other

plaintiff students, parents, teachers, or organizations located outside of and without



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any connection to Sarasota County. Importantly, the Organizational Plaintiffs have

wholly failed to plead the existence of any members with ties, or other relationships

whatsoever, to SBSC or Sarasota County. For this reason, the remaining Plaintiffs

too lack “traceability.” Therefore, none of the Plaintiffs in Counts I-V can establish

the causal connection required for standing based on an “enforcement” theory.

          c. Likelihood of Redress

      “Redressability is established when a favorable decision would amount to a

significant increase in the likelihood that the plaintiff would obtain relief that directly

redresses the injury suffered.” Fla. Wildlife Fed'n, Inc. v. S. Fla. Water Mgmt. Dist.,

647 F.3d 1296, 1303–04 (11th Cir. 2011) (quoting Mulhall v. UNITE HERE Local

355, 618 F.3d 1279, 1290 (11th Cir. 2010).

      Here, a favorable decision for Plaintiffs would be injunctive relief enjoining

the implementation and enforcement of H.B. 1557. As detailed above, Moricz – who

has already graduated – will not be able to show redressability for the purposes of

future injunctive relief as even an injunction against H.B. 1557 would not lead to

favorable relief in his case. The remaining Plaintiffs, meanwhile, seek only

“[p]ermanent injunctive relief enjoining Defendants from implementing and

enforcing H.B. 1557...” Dkt. 47 ¶ 314. But, as detailed above, none of the remaining

Plaintiffs bear any connection to SBSC. Accordingly, there is no possibility of

redressability for Plaintiffs and against SBSC via injunctive relief. Because injunctive



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relief against SBSC in favor of the remaining Plaintiffs would provide redress for no

one, Plaintiffs lack standing for this reason as well.

      In fact, the only possible redressability any of the Plaintiffs in Counts I-V can

establish against SBSC involves an alleged “deprivation” of rights that has already

occurred. As detailed in the Complaint and above, only Moricz could even possibly

obtain relief that would redress any purported injury suffered at the hands of SBSC.

But, as explained below, the only “deprivation” pled by Moricz involves a purported

deprivation of equal protection rights pursuant to § 1983. Notably, however, Moricz

has failed to generally state a valid § 1983 claim and specifically an equal protection

claim. Therefore, for this reason as well, none of the Plaintiffs, including Moricz, can

establish redressability such that they possess standing against SBSC.

   III.   Dismissal of Counts I-V is Proper Because Plaintiffs Have Failed to
          State a Valid § 1983 Claim Against SBSC in Each of these Counts.

      “In order to state a claim under 42 U.S.C. § 1983, a plaintiff must allege that

‘some person, acting under color of state law, deprived plaintiff of rights,

privileges, or immunities secured by the Constitution and laws of the United

States.’” Hamilton v. Hall, 790 F. Supp. 2d 1368, 1370 (N.D. Fla. 2011) (quoting

Blanton v. Griel Mem'l Psychiatric Hosp., 758 F.2d 1540, 1542 (11th Cir. 1985);

42 U.S.C. § 1983).

      In each of Counts I, III, IV, and V, Plaintiffs raise purely constitutional

challenges to H.B. 1557 itself. However, nowhere within these challenges to this

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legislation – which has not yet even become effective as law – as raised in these

specific counts do any of the various Plaintiffs allege that SBSC either specifically

had any involvement in its passage or that, as a result of its passage, SBSC has

“deprived” these Plaintiffs of a right secured under the Constitution or federal law.

Moreover, nowhere within Counts I-V do any of the various Plaintiffs specifically

allege that any “deprivation”, whether related to the constitutionality of H.B. 1557

or otherwise, has occurred “under color of state law”. Furthermore, in the specific

counts of the Complaint that only challenge H.B. 1557’s constitutionality, the

failure to plead how SBSC was involved with its passage is a failure to allege

SBSC “deprived” any of these Plaintiffs in these counts. Thus, no Plaintiff has

stated a valid § 1983 claim in Counts I, III, IV, and V against SBSC, and SBSC is

entitled to dismissal of Counts I, III, IV, and V on this basis alone.

      Moreover, regarding Count II specifically, although it is vaguely and

conclusory pled (which makes it difficult to understand exactly what is being

asserted by each Plaintiff against each Defendant), when read in a light most

favorable to Plaintiffs, the Complaint appears to raise challenges as to the

constitutionality of H.B. 1557 while also asserting that the Defendants to Count II

are depriving the six (6) Plaintiffs of their equal protection rights. See Dkt. 47 ¶¶

273–85. Specifically, at paragraph 275 of the Complaint, Plaintiffs assert that

“Defendants have deprived Plaintiffs of the rights, privileges, or immunities



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secured by the Equal Protection Clause because Defendants, without justification

have treated Plaintiffs differently from other similarly situated persons based on

their sex, sexual orientation, gender, gender identity, and transgender status.”56

Importantly, however, Count II fails to indicate how specifically the rights of these

six (6) Plaintiffs were deprived by “all Defendants”.

       Even if, for the purposes of reading the Complaint to include a claim against

SBSC in this specific count, “Defendants” is read to include SBSC and “Plaintiffs”

is read to include Moricz such that a valid “deprivation” has been pled against

SBSC, Plaintiffs will still have failed to plead a valid § 1983 claim here.

Specifically, as detailed above, Plaintiffs have failed to plead that they were so

deprived “under color of state law.” Thus, SBSC is also entitled to dismissal of

Count II for this reason as well.

    IV.    Count II Fails to State a Valid Claim of an Equal Protection
           Violation Against SBSC.
       One of the claims asserted in Count II alleges a deprivation of the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

In fact, a close review of the entire Complaint reveals Count II is the Complaint’s

only count that even arguably asserts a deprivation of rights by SBSC.


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  Count II – while doing so in a conclusory manner – is the only count that includes a plain
statement of a “deprivation” by Defendants. The assertions in the other counts, meanwhile, focus
on the constitutionality of H.B. 1557.
6
  The use of “Defendants” and “Plaintiffs” in paragraph 275 is yet another example of an
improper “shotgun pleading” that is discussed supra in Section I., above.

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      “To show an equal protection violation, [a plaintiff] needs to show that he

was treated differently than persons similarly situated and ‘that the defendant acted

with intent to discriminate’, based on a constitutionally protected interest.” Drisin

v. Florida International University Board of Trustees, 16-24939-CIV-WILLIAMS,

2019 WL 289581 at *13 (S.D. Fla. 2019) (citing Radford v. Smith, 2005 WL

2237603 at *1 (S.D. Ga. 2005).

      Even when viewed in a light most favorable to Plaintiffs, the only remotely

plausible deprivation by SBSC of anyone’s rights revolves exclusively around the

incidents surrounding Moricz’s May 22, 2022 graduation speech. See Dkt. 47 ¶¶

174–77. Again, even if “Defendants” in Count II of the Complaint is meant to

include SBSC, “Plaintiffs” is meant to include Moricz, and the “deprivations”

alluded to in paragraph 275 is meant to include the incidents described in

paragraphs 174–77 of the Complaint, SBSC is similarly entitled to dismissal here

as nowhere in the Complaint does any Plaintiff allege that SBSC “acted with the

intent to discriminate”—a polestar of an equal protection claim. As a result, SBSC

is entitled to dismissal of Count II for this reason as well as the Complaint wholly

fails to state a valid claim for deprivation of any of the six Plaintiffs’ (including

Moricz’s) equal protection rights.




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   V.       Dismissal is Proper Based on Improper Venue

         For all of the reasons detailed above, SBSC contends Counts I–V must be

dismissed. However, if this Court were to determine that Moricz has pled a valid §

1983 claim based on a deprivation of his rights by SBSC, any such remaining

claims against SBSC in this action must be dismissed for improper venue.

         Plaintiffs allege that “Defendant School Board of Sarasota County is a

district school board organized and governed pursuant to Fla. Stat. § 1001.34 et

seq.,” (Dkt. 47 ¶ 89), but conspicuously omits that SBSC, as a school board, is

organized and governed by the Florida Constitution as the governmental agency

duly empowered to administer, manage, and operate public schools within

Sarasota County, Florida. See, Art. IX, Sec. 4., Fla. Const.

         Importantly, no allegation by the Plaintiffs has been raised that SBSC has or

had any contacts with this venue. Moreover, SBSC is not alleged to have any

jurisdictional authority over any of the Plaintiffs within the venue of this Court, nor

is it alleged that SBSC has conducted any business activity, or been involved in

any enterprise giving rise to this action with the Plaintiffs, within the venue of this

Court.

         Moreover, as a political subdivision, SBSC is entitled to a home venue

privilege to be sued within the venue assigned to its principal geographical

location—either the Twelfth Judicial Circuit in Sarasota County or the Middle



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District of Florida. A court’s analysis regarding venue should “ensure that a

defendant is not hailed into a remote district having no real relationship to the

dispute.” See Hemispherx Biopharma, Inc. v. MidSouth Capital, Inc., 669 F. Supp.

2d 1353, 1357–58 (S.D. Fla. 2009). Instead of raising any allegation that SBSC has

any relationship to the dispute or this District, the Complaint instead generally

alleges a legal conclusion of jurisdiction and venue of this Court, as follows:

      This Court has personal jurisdiction over Defendants, and venue is
      proper in this District pursuant to 28 U.S.C. § 1391(b), because
      Defendants are public officials in the State of Florida, they are sued in
      their official capacities, and certain Defendants maintain their
      principal headquarters in this District. Defendants reside within this
      District and/or perform official duties within Florida.

Dkt. 47 ¶ 22.

      As a school board within the State of Florida, SBSC has power and authority

to act within the District of Sarasota County, Florida. In addition to failing to

allege that SBSC has any contacts within this Court’s District, or that SBSC has

engaged in any relevant action or conduct within the venue of this Court’s District,

the Complaint similarly fails to raise any allegations that any of the Plaintiffs

located within the Northern District’s geographical venue have been or will be

affected by any specific action taken by or conduct of SBSC. Instead, it is only

Moricz who can claim any conduct which occurred within the confines of Sarasota

County. Accordingly, to the extent any claim remains in this action involving

SBSC and Moricz unrelated to challenges to H.B. 1557’s constitutionality, venue


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is only proper in either Florida’s federal Middle District or its state Twelfth

Judicial Circuit – not Florida’s federal Northern District.

      Since SBSC has not, through any action or conduct, submitted itself to the

venue of this Court’s district, SBSC has and hereby asserts its State and common

law “home venue privilege” to be sued in the county where it maintains its

principal headquarters. See § 47.011, Fla. Stat.; School Bd. of Osceola County v.

State Bd. of Educ., 903 So.2d 963, 966 (Fla. 5th DCA 2005). Such home venue

privilege was created by common law, and among other things, the privilege is

intended to "promote orderly, efficient, and economical government" by allowing

governmental entities to be sued in the county of their headquarters, "where such

suits can be defended at a minimum expenditure of effort and public funds." Smith

v. Williams, 35 So. 2d 844 (Fla. 1948); Florida Dept. of Children and Families v.

Sun-Sentinel, 865 So. 2d 1278, 1287 (Fla. 2004); Fish & Wildlife Conservation

Com'n v. Wilkinson, 799 So. 2d 258, 263 (Fla. 2d DCA 2001).

      In consideration of these principles, SBSC asserts that venue in the Northern

District for any surviving § 1983 claims against SBSC based on a deprivation of

rights is inappropriate and, accordingly, any such claims should be dismissed for

this reason too.

      WHEREFORE, based on the above, this Court must dismiss SBSC from

Counts I-V of the Complaint. SBSC maintains that it is not a proper party to a



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constitutional challenge to H.B. 1557 by any of the Plaintiffs as alleged in Counts

I-V. SBSC additionally maintains that none of the Plaintiffs in Counts I, II, III, IV,

or V have stated a valid claim against SBSC based on deprivation of rights or

otherwise. Further, SBSC maintains that principles of home rule make venue in the

Northern District regarding any surviving deprivation claims against SBSC

inappropriate.


      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(f)

      Counsel for School Board of Sarasota County hereby certifies that, based on

Microsoft Word's “Word Count,” the forgoing Motion complies with Local Rule

7.1(f) because it contains 7,856 words.


Dated: June 27, 2022                   Respectfully submitted,

                                       /s/ Daniel J. DeLeo
                                       Daniel J. DeLeo, Esq.
                                       Fla. Bar No. 014268
                                       Patrick J. Duggan
                                       Fla. Bar No. 0899461
                                       ddeleo@shumaker.com
                                       pduggan@shumaker.com
                                       mpack@shumaker.com
                                       smcclellan@shumaker.com
                                       Shumaker, Loop & Kendrick, LLP
                                       P.O. Box 49948
                                       Sarasota, Florida 34230-6948
                                       (941) 366-6660
                                       (941) 366-3999 – Fax
                                       Counsel for School Board
                                       of Sarasota County

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF e-filing portal, which will serve a copy on

counsel of record.

Dated: June 27, 2022               Respectfully submitted,

                                   /s/ Daniel J. DeLeo
                                   Daniel J. DeLeo, Esq.
                                   Fla. Bar No. 014268


                              SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants:

Robert A. Kaplan, Esq.        rkaplan@kaplanhecker.com
                              docketing@kaplanhecker.com
                              kmagun@kaplanhecker.com
                              rtuchman@kaplanhecker.com
D. Brandon Trice, Esq.        btrice@kaplanhecker.com
Joshua Adam Matz, Esq.        jmatz@kaplanhecker.com
Kate Linsley Doniger, Esq.    kdoniger@kaplanhecker.com
Valerie Lynn Hletko, Esq.     vhletko@kaplanhecker.com
John Charles Quinn, Esq.      jquinn@kaplanhecker.com

Christopher Stoll, Esq.       cstoll@nclrights.org
Shireen A. Barday, Esq.       sbarday@gibsondunn.com
Elizabeth F. Schwartz, Esq.   liz@elizabethschwartz.com

Daniel W. Bell, Esq.          Daniel.Bell@myfloridalegal.com
Bilal Ahmed Faruqui, Esq.     bilal.faruqui@myfloridalegal.com
                              Alisha.robinson@myfloridalegal.com

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    Case 4:22-cv-00134-AW-MJF Document 65 Filed 06/27/22 Page 32 of 32




Henry Charles Whitaker, Esq. henry.whitaker@myfloridalegal.com
Anita J. Patel, Esq.         anita.patel@myfloridalegal.com
                             Complexlitigation.eservice@myfloridalegal.com

Bob Lynn Harris, Esq.          bharris@lawfla.com
                               ahopkins@lawfla.com
                               ccarstens@lawfla.com
                               jdean@lawfl.com

Jeffery James Grosholz, Esq.   jgrosholz@rumberger.com

John David Marsey, Esq.        dmarsey@rumberger.com
                               dmarseysecy@rumberger.com
                               docketingorlando@rumberger.com
                               fsujdm@comcast.net

Walter James Harvey, Esq.      walter.harvey@dadeschools.net
                               jordanmadrigal@dadschools.net
                               laynetperez@dadeschools.net

Erin G. Jackson, Esq.          ejackson@johnsonjackson.com
                               kharris@johnsonjackson.com
                               lstillwell@johnsonjackson.com
Ashley Tinsley Gallagher, Esq. agallagher@johnsonjackson.com

Joseph Matthew Wasserkrug      jwasserkrug@mwe.com
                               amonestime@mwe.com
                               jkohlasch@mwe.com
                               mblancoaleman@mwe.com
                               nmoya@mwe.com

Michael Wesly Weaver, Esq.     mweaver@mwe.com




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